       Case 3:05-cr-00025-LC-EMT Document 135 Filed 12/08/05 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                             CASE NO. 3:05cr25/LAC

WARD DEAN

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on December 7, 2005
Motion/Pleadings: DEFENDANT’S BRIEF RE RULE 29 MOTION
Filed by DEFENDANT                        on 12/7/05      Doc.# 130
RESPONSES:
                                          on              Doc.#
                                          on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                          WILLIAM M. McCOOL, CLERK OF COURT

       1                                       s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk:

                                            ORDER
Upon consideration of the foregoing, it is ORDERED this 8th day of
December, 2005, that:
       Having taken the matter under advisement at the close of the
evidence in this case, and upon careful review of the brief in
support of the motion, the Court finds the motion for judgment of
acquittal to be without merit.                   The motion is therefore DENIED.


                                                               s/L.A. Collier
                                                             LACEY A. COLLIER
                                                       United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
